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Plaintiff,
v. CR. NO. 02-20497-02-Ma
KENDRA COOPER WILLIAMS,

Defendant.

 

ORDER TO SURRENDER

 

The defendant, Kendra Cooper Williams, having been sentenced in
the above case to the custody of the Bureau of Prisons and having
been granted leave by the Conrt to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting
to Federal Medical Center Lexington, 3301 Leestown Road, Lexington,
Kentucky 40511, no later than 2:00 p.m., Friday, May 6, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order
the defendant shall report immediately to the Office of the Clerk,
Federal Office Building, 167 N. Main Street, Room 242, Memphis,
Tennessee 38103 to acknowledge by signature receipt of a copy of
this Order and that the defendant Will report as ordered to the
facility named above.

ENTERED this the [B&g`day of April, 2005-

w/MM

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 269 in
case 2:02-CR-20497 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

